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 4

 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
 9
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
                                                      )       EXCLUDABLE TIME PERIODS
11
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       [PROPOSED] FINDINGS AND ORDER
12
     JEREMY R. WARREN,                                )
                                                      )
13
                                                      )       Date: September 30, 2016
             Defendant.                               )       Time: 9:00 a.m.
14
                                                      )       Judge: Honorable Garland E Burrell, Jr.
                                                      )
15
                                                      )
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17
             The United States of America through its undersigned counsel, Michele M. Beckwith,
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19   Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.

20   Manning, Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on August 5, 2016.
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          2. By this stipulation, the defendant now moves to continue the status conference until
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24
     September 2, 2016 and to exclude time between August 5, 2016 and September 2, 2016 under

25   the Local CodeT-4 (to allow defense counsel time to prepare). The parties agree and stipulate,
26
     and request the Court find the following:
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             a.    Counsel for the defendant was appointed on June 17, 2016.
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            b. The government has produced approximately 1,300 pages of discovery and 26 audio
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 2              files.

 3          c. Counsel for the defendant needs additional time to review the discovery, conduct
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                investigation, interview potential witnesses, and meet with the defendant.
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            d. Counsel for the defendant believes the failure to grant a continuance in this case
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 7
                would deny defense counsel reasonable time necessary for effective preparation,

 8              taking into account the exercise of due diligence.
 9          e. The Government does not object to the continuance.
10
            f. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendant in a
12

13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of August
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                5, 2016 to September 2, 2016, inclusive, is deemed excludable pursuant to 18 United
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                States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
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19              Code T-4 because it results from a continuance granted by the Court at defendant’s

20              request on the basis of the Court’s finding that the ends of justice served by taking
21
                such action outweigh the best interest of the public and the defendant in a speedy
22
                trial.
23
        3. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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25   Speedy Trial Act dictate that additional time periods are excludable from the period within which

26   a trial must commence.
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        IT IS SO STIPULATED.
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 2   Dated: August 1, 2016                           /s/ John R. Manning
                                                     JOHN R. MANNING
 3                                                   Attorney for Defendant
                                                     Jeremy Warren
 4

 5   Dated: August 1, 2016                           Phillip A. Talbert
                                                     Acting United States Attorney
 6

 7
                                               by:   /s/ Michele M. Beckwith
                                                     MICHELE M. BECKWITH
 8                                                   Assistant U.S. Attorney
 9

10

11                                     ORDER

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     IT IS SO FOUND AND ORDERED.
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     Dated: August 2, 2016
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